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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF WYOMING

  STEPHANIE WADSWORTH, Individually
  and as Parent and Legal Guardian of W.W.,
  K.W., G.W., and L.W., minor children, and
                                               Case No.: 2:23-cv-00118-KHR
  MATTHEW WADSWORTH,

                     Plaintiffs,

                v.

  WALMART, INC. and JETSON
  ELECTRIC BIKES, LLC,

                Defendants.

             PLAINTIFFS’ MOTION FOR RECONSIDERATION OF
             COURT’S RULING ON PUNITIVE DAMAGES (ECF 143)
                           AS TO WALMART
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I. INTRODUCTION

       Plaintiffs respectfully ask the Court to reconsider its summary judgment ruling (ECF 143)

regarding punitive damages. Yesterday, Defendants stipulated to the admission of the 2018 CPSC

Safety Alert (Plaintiffs’ Trial Exhibit 199), which demonstrates Walmart’s knowledge of over 300

incidents in a mere 32 months where hoverboards with lithium-ion battery packs overheated or

caught fire. Given this evidence, a reasonable jury could determine that Walmart recklessly

disregarded a risk to consumers by UL-certified hoverboards with lithium-ion batteries.

II. ARGUMENT

       Under FED. R. CIV. P. 54(b), this Court has discretion to reconsider prior orders. See

Trujillo v. Bd. of Educ. of Albuquerque Pub. Schs., 212 Fed. App’x 760, 765 (10th Cir. 2007).

Reconsideration is appropriate here because, after the Court granted summary judgment as to

punitive damages, the subsequent evidence reveals that “it was premature to preclude jury

consideration of plaintiff's punitive damages claim… .” Garrett v. Humana, 1995 WL 697233, at

*1 (D.D.C. Nov. 13, 1995) (granting motion to reconsider partial summary judgment on punitive

damages); Kluth v. Spurlock, 2024 WL 1858502 at *2 (D. Colo. April 29, 2024) (granting motion

to reconsider summary judgment precluding punitive damages); Powell v. Tosh, 2013 WL

1878934, at *2 (W.D. Ky. May 3, 2013) (granting motion to reconsider relative to punitive

damages); Vigil v. Whirlpool, 2003 WL 27385394, at *2 (D.N.M. Feb. 11, 2003) (granting motion

to reconsider directed verdict on punitive damages); Ross v. Erie Ins., 2019 WL 5196381, at *2

(N.D. W.Va. Oct. 15, 2019) (“Should this Court be inclined to reconsider its ruling on punitive

damages based upon the evidence adduced at trial, this Court's ruling on this issue may be

reconsidered.”); EEOC v. Old Dominion Freight Line, 2015 WL 11117158, at *1 (W.D. Ark. Jan.

5, 2015) (acknowledging that court can reconsider ruling on punitive damages at trial).




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         In this case, reconsideration is warranted given the admission of the 2018 CPSC Safety

Alert (Plaintiffs’ exhibit 199) and the related testimony by Walmart’s representative, which

demonstrate Walmart’s knowledge of more than 300 incidents in 32 months where lithium-ion

powered hoverboards caught fire or overheated.1 Viewing the evidence in the light most favorable

to Plaintiffs, a reasonable jury could conclude that Walmart recklessly disregarded the risk that

UL-certified lithium-ion powered hoverboards could catch fire. See Questar Pipeline v. Grynberg,

201 F.3d 1277, 1287 (10th Cir. 2000) (“The court can set aside a jury’s punitive damage award

only if no reasonable jury could have found on the record as a whole that Questar acted willfully

and wantonly.”).

         The Tenth Circuit has explained the punitive damages standard under Wyoming law:

         Under Wyoming law, punitive damages are disfavored “and are to be allowed with caution
         within narrow limits.” Weaver v. Mitchell, 715 P.2d 1361, 1369 (Wyo. 1986). Punitive
         damages are only appropriate for “circumstances involving outrageous conduct, such as
         intentional torts, torts involving malice and torts involving willful and wanton
         misconduct.” Cramer v. Powder River Coal, 204 P.3d 974, 979 (Wyo. 2009) (internal
         quotation marks omitted). The Wyoming Supreme Court defines willful and wanton
         misconduct as “the intentional doing, or failing to do, an act in reckless disregard of the
         consequences and under circumstances and conditions that a reasonable person would
         know that such conduct would, in a high degree of probability, result in harm to another.”
         Id. “The aggravating factor which distinguishes willful misconduct from ordinary
         negligence is the actor’s state of mind.” Id. (internal quotation marks omitted). A willful
         or wanton state of mind is one “that approaches intent to do harm.” Id. (internal quotation
         marks omitted).

Lompe v. Sunridge Partners, 818 F.3d 1041, 1055 (10th Cir. 2016).

         Here, Walmart recklessly disregarded a known risk to consumers by UL-certified

hoverboards with lithium-ion battery packs. In short, Walmart blindly relied on UL certification.2

However, a reasonable company would know that reliance on UL certification would, to a high

degree of probability, result in harm to a consumer because 1) CPSC expressly warned Walmart


1
    Pl. Tr. Ex. 199.
2
    03-06-25 Trial Tr. at 130:13-131:7, 131:20-24, 143:20-22.


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that UL certification does not guarantee consumer safety,3 and 2) CPSC warned Walmart of more

than 300 hoverboards that caught fire or overheated in a mere 32 months.4 As Walmart’s

representative candidly admitted:

          Q. You knew because you had been informed you shouldn't be putting that much emphasis
          on that certification and did it anyhow, right?

          A. We continued to drive requirement, yes.

          Q. And knew better, correct?

          A. We were aware, yes.5

Worse, Walmart never relayed a warning to consumers about the fire hazard that Walmart knew

about.6

          There is additional evidence that—in conjunction with the 300+ hoverboards that

overheated and the strongly-worded CPSC warning—would allow a reasonable jury to award

punitive damages:

          1. Walmart did not make any effort to ensure consumer safety in response to the CPSC
             warning.7
          2. In spite of the CPSC warning, Walmart could not present any evidence that Walmart
             followed through from a safety perspective to ensure that the Plasma hoverboard was
             safe for consumers.8
          3. Walmart does not review any test results to ensure consumer safety9 and has never
             reviewed any test by Tescoo.10
          4. Walmart does not audit or inspect manufacturers for safety.11




3
  03-06-25 Trial Tr. at 131:8-19, 141:22-143:19.
4
  03-06-25 Trial Tr. at 141:22-142:14.
5
  03-06-25 Trial Tr. at 132:5-10.
6
  03-06-25 Trial Tr. at 132:11-17.
7
  03-06-25 Trial Tr. at 132:18-133:1.
8
  03-06-25 Trial Tr. at 127:1-5.
9
  03-06-25 Trial Tr. at 121:19-22.
10
   03-06-25 Trial Tr. at 128:10-14.
11
   03-06-25 Trial Tr. at 133:6-9.


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       5. In fact, Walmart has not hired anyone who even understands test reports well enough
          to review them.12
       6. Walmart has produced no documentation that the hoverboard was submitted to one of
          Walmart’s approved testing labs.13
       7. Walmart’s only testing related to the Plasma hoverboard was about whether it could
          hold a charge, 14 not whether it could overheat and catch fire.
       8. It is perhaps not surprising then that Walmart was not even aware that Jetson was using
          Tescoo for testing.15
In short, a jury could determine that Walmart’s safety front to its customers is a façade. A jury

could conclude that—in the face of its duties to test, inspect and provide adequate warnings about

a dangerous product—Walmart recklessly disregarded the risk that UL-certified hoverboards

could catch fire.

       Courts have found that punitive damages should be submitted to the jury under similar

circumstances. For example, the Tenth Circuit has permitted punitive damages where a defendant

was on notice of three prior incidents. Lompe, 818 F.3d at 1057 (“That is, three prior CO leaks,

including one in which Mr. Few was poisoned, put AMC on notice that the furnaces needed regular

substantive safety inspections to prevent future dangerous releases of CO. Failing to perform such

inspections recklessly endangered not only Ms. Lompe, but also all the tenants at the apartment

complex, and the risk included death.”). The court found punitive damages warranted even though

AMC’s conduct was not “particularly reprehensible” and AMC presented significant mitigating

evidence:

       MC was never cited or criticized by SourceGas or other regulators in Wyoming for the
       condition of the furnaces or the incidents in which Mr. Few or Ms. Lompe were poisoned.
       Moreover, AMC provided each tenant with a CO detector even though this was not
       required by state law or industry custom. The evidence regarding the effectiveness of
       providing these monitors was mixed. Although AMC amended the lease agreements to

12
   03-06-25 Trial Tr. at 129:15-21.
13
   03-06-25 Trial Tr. at 128:19-25.
14
   03-06-25 Trial Tr. at 125:3-126:17.
15
   03-06-25 Trial Tr. at 123:17-124:15.


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        provide sanctions for tampering with the CO monitors, an inspection immediately after Mr.
        Lompe was poisoned revealed that many units lacked functioning CO monitors. There was
        also some evidence to suggest AMC conformed to industry standards in dealing with the
        aging fleet of furnaces by repairing them as problems arose. But Ms. Lompe provided
        expert testimony opining that annual inspections should have been performed, and further
        precautions should have been implemented after Mr. Few's exposure.

Id. at 1066-67.

        Similarly, the Supreme Court of Wyoming found willful and wanton misconduct where

“Union Pacific had notice that children played on the tracks and yet failed to take measures to

protect these children from injury.” Hawk v. Union Pac., 844 P.2d 1045, 1051 (Wyo. 1992). This

Court has also recognized that a jury should decide punitive damages where a reasonable jury

could conclude that the defendant engaged in conduct even though it knew that the conduct would

pose a risk to others. See also Johnson v. EOG Res., 2020 WL 10356190, at *9 (D. Wyo. Jan. 27,

2020) (punitive damages permissible where defendants communicated about risks from threaded

fittings and had policy not to use threaded fittings); Guinn v. Builders Transp., 2008 WL

11414545, at *2 (D. Wyo. Sept. 24, 2008) (punitive damages permissible where plaintiff “points

to disputed and non-disputed facts indicating that Builders tolerated hours of service regulations,

failed to monitor its driver’s hours, failed to adequately hire, train and supervise its driver, and that

such conduct created a high degree of danger to other vehicles.”). In fact, a jury could award

punitive damages due to Walmart’s failure to warn Plaintiffs of a risk that it knew about. See Van

Dyke v. Glaxo SmithKline, 2009 WL 10672277, at *4-9 (D. Wyo. Apr. 8, 2009) (punitive damages

is jury question where plaintiff presented evidence that defendant was aware of inadequacy of

warning and evidence that pill was defective); see also Georgiou v. Battery Junction, 2024 WL

874799, at *10 (N.D. Tex. Jan. 25, 2024) (recommending denial of summary judgment as to

punitive damages for claim that LG should have warned consumers about risk of lithium-ion

battery explosion).



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       As in these cases, viewing the evidence in the light most favorable to Plaintiffs, a

reasonable jury could conclude that Walmart recklessly disregarded the fire risk in UL-certified

hoverboards.

III. CONCLUSION

       For these reasons, Plaintiffs respectfully request that this Court reconsider its summary

judgment decision as to punitive damages as to Walmart.16

                                                     Respectfully submitted,

Date: March 7, 2025
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   In relief is granted, Plaintiffs would not change any evidence in this phase. In this phase, the
jury would decide—based solely upon the liability evidence—whether punitive damages are
warranted, and if warranted, the jury would decide in a second phase the amount of punitive
damages. See Wyo. Civ. Pattern Jury Instructions 4.05, 4.06.


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                                   CERTIFICATE OF CONFERRAL

        Pursuant to Local Rule 7.1(b)(1)(A), Counsel for all parties have conferred and made a

good faith effort to resolve this matter. Despite these attempts, defense counsel has objected to this

motion.

                                                      /s/ Josh Autry

                                   CERTIFICATE OF SERVICE

        I certify that on March 7, 2025, a true and correct copy of the foregoing was electronically

filed with the Clerk of Court using the CM/ECF system, which will send a notice of electronic

filing to all counsel of record.

                                                      /s/ Josh Autry




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